 Case 6:17-cv-00560-JA-T_S Document 18 Filed 08/14/17 Page 1 of 1 PageID 79




                      IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

 IBET TOLTOWICZ,                                    CASE NO.: 6:17-cv-00560-JA-TBS
       Plaintiff,

 vs.

 LTD FINANCIAL SERVICES, L.P,
       Defendant.
 __________________________________/

                                 NOTICE OF SETTLEMENT

       COMES NOW, Plaintiff, IBET TOLTOWICZ (“Plaintiff”), by and through undersigned

counsel, and hereby files this Notice of Settlement, and states that Plaintiff and Defendant, LTD

FINANCIAL SERVICES, L.P, have come to an amicable settlement agreement.

Date: August 14, 2017


                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 14th day of August, 2017, I electronically filed the
foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing
document is being served this day on all counsel of record or pro se parties either via transmission
of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for
those counsel or parties who are not authorized to receive electronically Notices of Electronic
Filing.

                                             /s/ Christopher W. Boss
                                             Christopher W. Boss, Esq.
                                             FL Bar No.: 13183
                                             Boss Law
                                             Service Email: CPservice@protectyourfuture.com
                                             9887 4th Street N., Suite 202
                                             St. Petersburg, FL 33702
                                             Phone: (727) 471-0039
                                             Fax: (727) 471-1206
                                             Counsel for Plaintiff




                                                1
